     Case 11-34182 Doc 17-1 Filed 11/07/11 Entered 11/07/11 12:30:11                                                Desc
               Statement Accompanying Relief From Stay Page 1 of 1


                                             REQUIRED STATEMENT
                            TO ACCOMPANY MOTIONS FOR RELIEF FROM STAY

All Cases: Debtor(s)                     Tarocko Garfield                     Case No.        11-34182      Chapter_7_

All Cases: Moving Creditor                       Vanessa Charles, et al.                                       8/22/2011
                                                                                             Date Case Filed - - ---

Nature of Relief Sought: lifLift Stay            o Annul Stay       0 Other (describe)                                 _

Chapter 13: Date of Confmnation Hearing                                       or Date Plan Confmned                        _

Chapter 7: 0 No-Asset Report Filed on
           rtf No-Asset Report not Filed-,D-at-e-o-f-C-r-edi-·-to-r-s-M-e-e-tin-g----   September 21,2011

1.       Collateral
         a.       0 Home
         b.       0 Car Year, Make, and Model                                                                   _
         c.       0 Other(describe)                                                      .                  _

2.       Balance Owed as of Petition Date $ _-,---                               _
         Total of all other Liens against Collateral $                           _

3.       In chapter 13 cases, if a post-petition default is asserted in the motion, attach a payment history listing the
         amounts and dates of all payments received from the debtor(s) post-petition.

4.       Estimated Value of Collateral (must be supplied in all cases) $                                        _

5.       Default
         a.        o Pre-Petition Default
                   Number of months                       Amount $                       ,     _

         b.        0 Post-Petition Default
                   i.      0 On direct payments to the moving creditor
                             Number of months                       Amount $ - - - - - - - - - - -

                   11.       0 On payments to the Standing Chapter 13 Trustee
                             Number of months                Amount $ - - - - - - - - -

6.       Other Allegations
         a.      0 Lack of Adequate Protection § 362(d)(I)
                 i.        0 No insurance
                 ii.       0 Taxes unpaid           Amount $                                       _
                 iii.      0 Rapidly depreciating asset
                 iv.       0 Other(describe)                                                                               _

         b.        0 No Equity and not Necessary for an Effective Reorganization § 362(d)(2)

         c.        r!f Other "Cause" § 362(d)(I)
                   i.        0 Bad Faith (describe)                                                                        _
                   ii.       0 Multiple Filings
                   iii.      lit Other (describe)            Civil personal injury suit pending in Circuit Court

         d.        Debtor's Statement of Intention regarding the Collateral
                   i. 0 Reaffirm ii 0 Redeem iii. 0 Surrender ~ No Statement ofIntention Filed

Date:      \\/=1=)"                                          l (             ~_~~_
           +--'-\ I                                          ~               ~orMovant ~
(Rev. 12/21/09)
